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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF GEORGIA
                               STATESBORO DIVISION




UNITED STATES OF AMERICA

V.                                             CR622-010


ALEXYS RIVERA-CUEVAS




                ORDER ON MOTION FOR LEAVE OF ABSENCE



      Harry D. Dixon, Jr. having made application to the Court for a leave of

absence, and it being evident from the application that the provisions of Local Rule 83.9

have been complied with, and no objections having been received;

      IT IS HEREBY ORDERED THAT Harry D, Dixon, Jr. be granted leave of

absence for the following periods: September 15, 2023; November 3, 2023; and

November 10, 2023 through November 13, 2023.

      SO ORDERED,this the //^dav of September, 2023.


                                        J. RANDALJJALL, GHIEF JUDGE
                                        UNITED/STATES DISTRICT COURT
                                                 :rn district of Georgia
